
PER CURIAM:
In this claim, submitted for decision upon the pleadings, claimant seeks payment of the sum of $230.03 as reimbursement for property taxes he paid on certain real estate purchased by the respondent. By the terms of the deed, the Department of *24Public Safety was responsible for the payment of the 1978 real property taxes, which were paid by the claimant and for which he was only partially reimbursed. The $230.03 claimed herein represents the remainder owed to the claimant.
As the respondent’s Answer acknowledges the validity and amount of the claim, and sufficient funds were available in the proper fiscal year from which the obligation could have been paid, the Court makes an award to the claimant in the amount requested.
Award of $230.03.
